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                             EXHIBIT C
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                                                                            Exhibit C
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                      The State Bar                                            OFFICE OF
                                                                               OFFICE OF PROFESSIONAL
                                                                                         PROFESSIONAL COMPETENCE
                                                                                                      COMPETENCE


                      of California
                      180 Howard Street,
                      180 Howard Street,San
                                         San Francisco,
                                             Francisco, CA
                                                        CA 94105
                                                           94105                                      lrs@calbar.ca.gov
                                                                                                      Irs@calbar.ca.gov




  December 13, 2023



  Teresa Vuki, Public Services
                      Services Manager
                               Manager
  Orange County Bar
                 Bar Association
                      Association Lawyer
                                  Lawyer Referral
                                         Referral &
                                                  & Information  Service
                                                     Information Service
  P.O. Box 6130
  Newport  Beach, CA
  Newport Beach,  CA 92658

  RE:
  RE:        RECERTIFICATION AS
             RECERTIFICATION AS AA CERTIFIED
                                   CERTIFIED LAWYER
                                             LAWYERREFERRAL
                                                    REFERRAL SERVICE
                                                             SERVICE (LRS)
                                                                     (LRS)
             (EFFECTIVE
             (EFFECTIVEFROM
                        FROM11/15/2023
                             11/15/2023THROUGH
                                        THROUGH11/15/2024)
                                                11/15/2024)


  Dear Ms. Vuki:

                  withBusiness
  In accordance with   Business and Professions Code section
                                                       section 6155 and Rules
                                                                          Rules ofof the State Bar,
  Orange County
  Orange   County Bar
                    Bar Association
                        AssociationLawyer
                                     LawyerReferral
                                            Referral &
                                                     & Information   Service has been
                                                       Information Service          been approved
                                                                                          approved for
                                                                                                    for
  recertification in the following county: Orange
                                           Orange County.
                                                  County. This
                                                            This certification
                                                                 certification is effective
                                                                                  effective from
                                                                                            from
  11/15/2023 through 11/15/2024.

  This recertification
  This recertification is based
                          basedon
                                onthe
                                    theinformation
                                        information provided
                                                    provided inin your
                                                                  your recertification
                                                                       recertification application
  dated November 10, 2023 and  and the
                                   the revised
                                       revised recertification  application dated
                                               recertification application  dated December
                                                                                   December 13, 2023.

  Enclosed
  Enclosed isisyour
                your Certificate
                     Certificate of
                                 of Compliance.
                                    Compliance.ItIt isisyour
                                                         yourduty
                                                             duty to
                                                                  to ensure
                                                                     ensure continued
                                                                            continued compliance of all
  certification requirements.

  Thank you
        you for
              for your commitment  toproviding
                       commitment to providingaccess
                                               access to affordable
                                                         affordable legal
                                                                     legal services
                                                                           services and
                                                                                    and protecting
                                                                                        protecting
  the public.

  Sincerely,




  Office of
         of Professional Competence




 San Francisco Office
               Office                                      www.calbar.ca.gov                       Los Angeles Office
                                                                                                               Office
 180 Howard Street                                                                                 845 South Figueroa Street
 San Francisco, CA
                CA 94105
                    94105                                                                          Los Angeles, CA
                                                                                                                CA 90017
                                                                                                                    90017

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   CERTIFICATE
   CERTIFICATE OF
               OF COMPLIANCE
                  COMPLIANCE
                                 The State Bar of California
                                     hereby authorizes

              Orange
                   r414
                        County
              Oranp County     Bar
                              Bar  Association
                                  Association
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           Lawyer Referral & Information
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                                         LawyerReferral
                                                Referral Service
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                                   Orange County
                                            ii•
              Effective from
                        from November 15, 2023 through November 15, 2024
                                               ,                                   P•04.,



This lawyer
This  lawyer referral service is
                              is certified
                                 certified with
                                           with the State Bar of California and conforms
                                                                                 conforms with
                                                                                            with
  Business and
  Business   and Professions
                  ProfessionsCode
                                Codesection
                                       section6155
                                               6155and
                                                    and Rules
                                                        Rulesofofthe
                                                                  the State
                                                                      State Bar
                                                                            Bar of
                                                                                of California.
                                  •                                    • or.
                                         Ju l Y 2 9TH 192
                                               •

                                                                                                   Leah Wilson
                                                                                                Executive Director
 Certification #033
                                                                                            The State Bar of California
                                                                                                                Exhibit C
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